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                    UNITED STATES DISTRICT COURT
                                                for the
                                      District of Colorado

                                                       Case No. 18-CV-01761-MSK-NYW
                 Tiffany Grays, pro se

                       Plaintiff(s)

                         -V-

     Auto Mart USA, LLC; Jorge Pacheco;
  Auto Mart USA2; Daniel Ramirez, JB Ovalle;
  Donnie McElroy; Marco Sandoval; Auto Mart;
                 & Jay Barber

                     Defendant(s)


        BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR
      SANTIONS PURSUANT TO FED. FED. R. CIV. P 37 AND 28
                        U.S.C. § 1927

  Pro se, Plaintiff, Tiffany Grays hereby submits this Brief in support of sanctions against

  Defendants and counsel for Defendants, as Counsel was previously granted an extension of nine

  additional days to answer Plaintiff First Set of Discovery Requests (ECF No. 68-3), each of

  them, on June 07, 2019. As Defendants responded with the same mendacity exhibited in the

  [sic] Answer (ECF No. 51) to the Complaint, which denies even selling a vehicle to the Plaintiff;

  a fact uncontested within Defendants Response(s) (ECF Nos. 73 and 74). Plaintiff has many

  objections to the answers received yet has been unduly hindered in doing so, as the pro se

  Plaintiff has been vexatiously forced to seek an Order of Protection (ECF No. 60), Rule 11

  Sanctions (ECF No. 68), and Rule 37 Sanctions (ECF No. 81 and 81-Exhibit 11); on account




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  of counsel’s unwillingness to conduct these matters civilly, ethically, and in accordance with

  Court’s Order of responsiveness (ECF No. 47), as outlined in ECF Nos. 47, 50, 53, 58, 60, and

  67, (ECF No. 68 ¶9), 81 and now 84.


       I.    DEFENDANT’S INTENTIONAL MISSTATEMENTS

  1.        Defendants contend they have “addressed the [Rule 37] allegations” (ECF No. 82 p.2) in

  Responses (ECF No. 73 and 74), which were filed weeks before the Rule 37 Motion was filed

  (ECF No. 81); as Plaintiff’s grounds for each Motion are the [sic] “same,” Id. p.2. Plaintiff

  contends any duplicative verbiage used was necessary as Defendants’ currently unsanctioned

  actions have been repeated, continue to escalate, and substantiate violations under Rules 11 and

  37, as well as Statute 1927.


  2.        Defendants did not object to Plaintiff’s Request for Production, as Defendants held thirty

  days to object, and failed to do so (ECF No. 81- Exhibit 11). Counsel again expressing his focus

  on a case which he is not a party nor made an appearance, expressing his unethical improper

  behavior which necessitated the Court entering a protective order; alleging “the expert witness

  disclosures deadline having passed,” (ECF No. 82 p.3), which is factually not true in this case

  (ECF No. 48 p.10); but is true in the case 18-cv-01761-SKC-STV. Experts can and will be

  disclosed by September 13, 2019, Id. p10. Counsel’s improper focus substantiates the bad-faith,

  failures to make reasonable inquiry to his pleadings; causing the Plaintiff to file additional briefs,

  vexatiously. Defendants end their Response addressing Rule 11 and not Rule 37, due to

  Defendants being void of any Rule 37 defense which would sanction Defendant’s actions.




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                                    II.     CONCLUSION
  3.     In sum, Defendants have not denied nor defended the fact that Defendants failed to

  timely object to Plaintiff’s Request for Production. Therefor Defendants have admitted to

  untimely objecting to Plaintiff’s Request for Production; making sanctions appropriate, as any

  objection is now barred under the time limitations provided in Rule 33 and counsel failed to seek

  additional time prior to its expiration. Counsel has not attested or declared conducting this

  litigation in good-faith nor having made reasonable inquiry into documents provided in the

  course of this litigation. Plaintiff has been forced to file two separate motions for sanctions in

  less than seven days due to Defendants mendacity. Defendants’ throughout both Defendants

  Responses to Plaintiff’s Motions for Sanctions have not admitted any wrongdoing, even when err

  is evident, similar conduct which has caused Plaintiff’s claims. Defendants’ and counsel continue

  to egregiously work with counsel in a separate case, against the pro se Plaintiff; indication of

  collusion required to deny justice to the rightful owner, the Plaintiff. Counsel and Defendants

  unethically rely upon the Plaintiff’s pro se status as ability to ignore Court Rules and Orders, as

  pro se parties are allegedly unable to recover fees; an inconceivable concept as the money and

  time pro se parities spend is just the same as licensed attorneys. In fact, the cost to pro se parties

  is amplified by the implicit ignorance present in pro se parties. To sanction the overt

  insubordination of Defendants and counsel on account of Plaintiff’s pre se status, only

  perpetuates unlawful and unethical behavior presented multiple times by counsel and

  Defendants.

  4.     It is in this Court’s equitable powers to end Defendants and their counsel’s indifference to

  the Rules and Orders of this Court; to end the Plaintiff’s suffering and Order Rule 11, 37, and


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  Statute 1927 Sanctions upon Defendants and their legal counsel, as stated in Plaintiff’s Motions

  for Sanctions.

                                       Respectfully Submitted,


                                                                           /s/ Tiffany Grays, pro se


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                    UNITED STATES DISTRICT COURT
                                              for the
                                    District of Colorado
   Tiffany Grays, pro se                                          18-CV-01761-MSK-NYW
            v.
   Auto Mart USA, et al



                           CERTIFICATE OF SERVICE

  In accordance with Federal and Local Rules, I hereby certify that on the 15 th day, of August
  2019, I have filed the foregoing with the Clerk using the CM/ECF system, which will send a true
  copy thereof to the following recipients, via the CM/ECF system.


  DOCUMENT: BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR SANTIONS
  PURSUANT TO FED. FED. R. CIV. P 37 AND 28 U.S.C. § 1927
                 Auto Mart et al.
                 C/O Michael McKinnon
                 mgmckinnon@msn.com
                 P: 303-438-4000



                                                                         /s/ Tiffany Grays, pro se


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